           Case 2:12-cr-00069-JAM Document 35 Filed 03/11/13 Page 1 of 4


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 4   Attorney for Defendant
     ANDREY ANDREYEV
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 7
 8                        UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,         )      Case No. 2:12-cr-00069 JAM
                                       )
13                     Plaintiff,      )      STIPULATION REGARDING
                                       )      EXCLUDABLE TIME PERIODS UNDER
14             v.                      )      SPEEDY TRIAL ACT;[PROPOSED]
                                       )      FINDINGS AND ORDER
15   ANDREY ANDREYEV, et al            )
                                       )
16                     Defendants.     )
                                       )
17                                     )
18
19        Plaintiff United States of America, by and through its
20   counsel of record, and defendants, Andrey Andreyev and Vitaliy
21   Andreyev, by and through their counsel of record, hereby
22   stipulate as follows:
23        1.   By previous order, this matter was set for status on
24   March 12, 2013.
25        2.   By this stipulation, defendants now move to continue
26   the status conference set for March 12, 2013, and to schedule
27   this matter for change of plea on April 16, 2013 at 9:45 a.m.,
28   and to exclude time between March 12, 2013 and April 16, 2013
           Case 2:12-cr-00069-JAM Document 35 Filed 03/11/13 Page 2 of 4


 1   under Local Code T4.    Plaintiff does not oppose this request.
 2        3.   The parties agree and stipulate, and request that the
 3   Court find the following:
 4        a.   The parties have reached an agreement in principle.
 5             However, minor revisions to the current versions of the
 6             plea agreement are being worked out.
 7        b.   Counsel desire additional time to finalize the terms of
 8             the plea agreements.     Counsel for defendants need
 9             additional time to consult with their clients, review
10             the current charges, and conduct investigations and
11             research related to the charges in preparation for the
12             plea and in the alternative preparation for trial.
13        c.   Both defense counsel are currently involved in a
14             pending murder case in Butte County in a case stemming
15             from the death of a child.      A dependency action
16             stemming from the death in question just concluded on
17             March 4, 2013, and bother defense counsel were involved
18             in a three-month-long “trial” / jurisdictional hearing
19             that led to the conclusion of the dependency
20             proceeding.
21        d.   Counsel for defendants believe that failure to grant
22             the above-requested continuance would deny them the
23             reasonable time necessary for effective preparation,
24             taking into account the exercise of due diligence.
25        e.   The government does not object to the continuance.
26        f.   Based on the above-stated findings, the ends of justice
27
28                                      2
              Case 2:12-cr-00069-JAM Document 35 Filed 03/11/13 Page 3 of 4


 1               served by continuing the case as requested outweigh the
 2               interest of the public and the defendant in a trial
 3               within the original date prescribed by the Speedy Trial
 4               Act.
 5        g.     For the purpose of computing time under the Speedy
 6               Trial Act, 18 U.S.C. § 3161, et seq., within which
 7               trial must commence, the time period of March 12, 2013
 8               to April 16, 2013, inclusive, is deemed excludable
 9               pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
10               T4] because it results from a continuance granted by
11               the Court at defendant’s request on the basis of the
12               Court's finding that the ends of justice served by
13               taking such action outweigh the best interest of the
14               public and the defendant in a speedy trial.
15        4.     Nothing in this stipulation and order shall preclude a
16   finding that other provisions of the Speedy Trial Act dictate
17   that additional time periods are excludable from the period
18   within which a trial must commence.
19   IT IS SO STIPULATED.
20
21   DATED:      March 8, 2013.
22
                                   /s/ Lee Bickley
23                                 LEE BICKLEY
                                   Assistant United States Attorney
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26
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28                                         3
              Case 2:12-cr-00069-JAM Document 35 Filed 03/11/13 Page 4 of 4


 1   DATED:      March 8, 2013.
 2
                                   /s/ Victor Haltom
 3                                 VICTOR HALTOM
                                   Counsel for Defendant A. Andreyev
 4
 5
 6   DATED:      March 8, 2013.
 7
                                   /s/ John R. Duree, Jr.
 8                                 JOHN R. DUREE, JR.
                                   Counsel for Defendant V. Andreyev
 9
10                                     O R D E R
11       IT IS SO FOUND AND ORDERED this 8th day of March,
12   2013.
13
                                   /s/ John A. Mendez
14                                 UNITED STATES DISTRICT COURT JUDGE
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